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Additionally, Epic intends to file an opposition to Apple’s Motion to Strike Portions of Hearing
Testimony (Dkt. 1328), in accordance with Civil Local Rules 7-3 and 7-4, by no later than
March 21, 2025.

Separately, the Courtroom Deputy contacted the Parties last week regarding the filing of the
evidentiary hearing’s exhibits. Epic provided Apple with copies of the exhibits, which contained
proposed redactions based on the Parties’ agreed-upon redactions during the hearing, so that
Apple could review them prior to their filing on the public docket. Epic remains prepared to file
these exhibits on the public docket at the Court’s convenience and requests the Court’s guidance
on this issue.

Epic is prepared to discuss any of the above issues and filings at a status conference, should the
Court prefer.


                                                 Sincerely,



                                                 /s/ Yonatan Even
                                                 Yonatan Even




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